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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
                                                )
RESCUECOM CORPORATION,                          )
                                                )
               Plaintiff,                       )
                                                )     5:04-CV-1055 (NAM)(GHL)
       vs.                                      )
                                                )
GOOGLE, INC.                                    )
                                                )
               Defendant.                       )
                                                )


                                    NOTICE OF MOTION

       PLEASE TAKE NOTICE that, upon the Declaration of Shawn Patrick Regan, counsel

for Defendant Google Inc., (“Defendant”) dated November 8, 2004, with exhibits thereto, the

Memorandum of Law in Support of Defendant’s Motion to Dismiss the Complaint and all prior

pleadings and proceedings had herein, Defendant will move this Court for an order dismissing

the complaint before the Honorable Norman A. Mordue on Wednesday, December 15, 2004, at

10:00 a.m. and for such other and further relief as the Court may deem just and proper.

Dated: New York, New York
       November 8, 2004
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                                                     HUNTON & WILLIAMS LLP

                                                 By: /s/ Shawn Patrick Regan
                                                     Shawn Patrick Regan, Esq.
                                                     N.D.N.Y. Bar No. 510638
                                                     HUNTON & WILLIAMS LLP
                                                     200 Park Avenue, 43rd Floor
                                                     New York, NY 10166-0136
                                                     Telephone: (212) 309-1000

                                                     Attorneys for Google Inc.


TO:    Edmund J. Gegan, Esq.
       Rescuecom
       2560 Burnet Avenue
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       (315) 432-8800

       Counsel for Plaintiff Rescuecom Corporation




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                                 DECLARATION OF SERVICE

       Raymond E. Galbraith, hereby declares under penalty of perjury, pursuant to 28 U.S.C.

§ 1746, that:


       I am a Litigation Paralegal at the firm of Hunton & Williams LLP, attorneys for

Defendant Google, Inc.

       That on November 8, 2004, I served a true copy of the foregoing on counsel for Plaintiff,

via electronic service, at the address listed below


       I declare under penalty of perjury that the foregoing is true and correct.


       Executed on November 8, 2004.


                                                  /s/ Raymond E. Galbraith
                                                    Raymond E. Galbraith


       TO:      Edmund J. Gegan, Esq.
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                Syracuse, New York 13206
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                Counsel for Plaintiff Rescuecom Corporation




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